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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA
                            NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                           §             MDL NO. 1873
FORMALDEHYDE                                  §
PRODUCT LIABILITY LITIGATION                  §             SECTION “N-5”
                                              §             JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO:                  §
                                              §
Civil Action No. 12-1209                      §
Kenneth Albus, et al. v.                      §
Gulf Stream Coach, Inc., et al.               §

              ORDER ON PLAINTIFF’S, BRITTNEY DEWEY, NOTICE OF
                VOLUNTARY DISMISSAL UNDER FRCP 41(a)(1)(A)(i)

      Considering the foregoing motion,

      IT IS HEREBY ORDERED that Plaintiff’s, BRITTNEY DEWEY, Notice of

Voluntary Dismissal, without prejudice, is hereby, and in all things GRANTED.

      New Orleans, Louisiana, this ____ day of ____________________, 2012.




                                        _____________________________
                                        HONORABLE KURT ENGELHARDT
